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                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                                                                                           May 08, 2020
                            UNITED STATES DISTRICT COURT
                                                                                        David J. Bradley, Clerk
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

LADDY CURTIS VALENTINE, et al,                    §
                                                  §
         Plaintiffs,                              §
VS.                                               § CIVIL ACTION NO. 4:20-CV-1115
                                                  §
BRYAN COLLIER, et al,                             §
                                                  §
         Defendants.                              §

                                             ORDER

       Pending before the Court are two motions relating to discovery: Plaintiffs’ Motion to

Modify Protective Order in Cole v. Collier (Doc. No. 29) and Defendants’ Motion to Stay

Discovery (Doc. No. 81). The Court previously ordered parties to confer as required by Rule 26(f).

Parties were unable to reach agreement on a discovery plan and schedule. The Court accordingly

held a hearing on May 8, 2020 to set a trial date and a plan for discovery.

       Given the urgent nature of the case at hand and the fact that parties agree that the case

should proceed on an expedited basis, the Court hereby sets trial for July 13, 2020. Parties are

ORDERED to set discovery deadlines by agreement in accordance with this trial date.

       Upon considering Plaintiffs’ Motion to Modify Protective Order, the Court finds that

Plaintiffs have not stated a sufficient reason to modify the protective order in Cole v. Collier. The

Court is especially sensitive to the fact that documents produced in connection with the Cole

litigation included medical records and other personal information belonging to Cole class

members who are not putative class members in the Valentine litigation. Given that Plaintiffs’

Motion was originally filed in preparation for an injunction hearing that has already taken place,

and that discovery will now proceed on an expedited basis, the Court does not find that modifying


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the protective order in Cole is necessary. Plaintiffs remain free to request specific documents or

categories of documents that may have been produced by Defendants in connection with the Cole

case in their requests for production of documents in the present litigation. For these reasons,

Plaintiffs’ Motion to Modify Protective Order in Cole v. Collier is DENIED.

       The Court now turns to Defendants’ Motion to Stay Discovery. Defendants argue that the

Court should stay all discovery until either 1) the Fifth Circuit decides Defendants’ interlocutory

appeal of this Court’s Preliminary Injunction Order or 2) this Court decides Defendants’ Motion

to Dismiss (Doc. No. 53). Defendants argue in the alternative that, if the Court allows discovery

to proceed, discovery should be limited to threshold issues of subject matter jurisdiction, standing,

and administrative exhaustion under the Prison Litigation Reform Act. Defendants have not cited

any rules or laws that require the Court to stay discovery pending adjudication of an interlocutory

appeal or a motion to dismiss. Indeed, Defendants note in their Motion that the district court holds

“‘broad discretion’ in determining whether to stay proceedings,” (Doc. No. 81, at 6 (quoting

Clinton v. Jones, 520 U.S. 681, 706 (1997)), and even in the face of a pending interlocutory appeal,

“the district court may still proceed with matters not involved in the appeal,” id. at 4 (quoting

Taylor v. Sterrett, 640 F.2d 663, 667–68 (5th Cir. 1981). Accordingly, the Court finds that the

urgent nature of the present suit necessitates expedited discovery. The speed at which COVID-19

spreads and the urgency with which the world has had to act in response to the pandemic outweigh

Defendants’ interests in waiting for the Fifth Circuit or this Court to narrow the issues before

beginning discovery. Because the urgent nature of this case will require this case to develop on an

expedited basis, the Court finds that Defendants’ Motion to Stay Discovery must be DENIED.

       Parties are ORDERED to file a joint Docket Control Order with agreed upon discovery

deadlines.


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       The Court will defer deciding how any discovery plan affects proposed Plaintiff-

Intervenors until after the Motion to Intervene (Doc. No. 76) has been fully briefed.

       IT IS SO ORDERED.

       SIGNED at Houston, Texas on this the 8th day of May, 2020.




                                                     KEITH P. ELLISON
                                                     UNITED STATES DISTRICT JUDGE




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